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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiff,                                 4:17MJ3131
      vs.
                                                                  ORDER
BAILEY BOSWELL,
                     Material Witness.


      The court has previously received a Financial Affidavit (CJA Form 23) signed by
the above-named defendant in support of Defendant’s request for appointed counsel.
After a review of the Financial Affidavit, the court finds the above-named defendant is
currently eligible for appointment of counsel pursuant to the Criminal Justice Act, 18
U.S.C. §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.

      Accordingly,

      IT IS ORDERED:
      1)     The Federal Public Defender for the District of Nebraska is appointed, and
             Jessica Milburn shall promptly enter an appearance as counsel for the above
             named defendant.
      2)     The Clerk shall provide a copy of this order to the Federal Public Defender
             for the District of Nebraska and to the appointed attorney.

      December 7, 2017.

                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
